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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION AT LAFAYETTE

JANE DOE,                         )
                                  )
           Plaintiff,             )
                                  )
     v.                           )                  CAUSE NO.: 4:17-CV-94-JVB-JEM
                                  )
PURDUE UNIVERSITY, MITCHELL ELIAS )
DANIELS, ALYSA CHRISTMAS ROLLOCK, )
KATHERINE L. SERMERSHEIM, MONICA )
BLOOM, ERIN OLIVER, and JACOB     )
AMBERGER,                         )
                                  )
           Defendants.            )                  JURY TRIAL DEMANDED

                             SECOND AMENDED COMPLAINT

       COMES NOW Plaintiff, Jane Doe, by and through counsel, Andrew J. Spica and John

Mark Vouga, and hereby complains against the Defendants and requests a trial by jury as

follows:

                                       INTRODUCTION

       1.      This cause of action arises from the Defendants’ deliberately indifferent response

to a student-on-student sexual assault on school premises.

       2.      Defendants’ failure to promptly and adequately respond to the assault subjected

Plaintiff to a hostile educational environment, and it denied her equal access to educational

opportunities and programs, based on her gender.

       3.      Defendants’ failure to promptly and adequately respond to the assault further

denied Plaintiff of her constitutional right to due process, as she was denied the due process of

law in the Defendants’ inadequate investigation of, and inadequate response to, the assault.




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       4.        When Defendants did respond, the investigation they conducted was biased

against Plaintiff due to her gender.

       5.        The outcome of the investigation was erroneous.

       6.        This action alleges violations of the Title IX of the Education Amendments of

1972, 20 U.S.C. §1681 et seq. (“Title IX”), and 42 U.S.C. §1983, for the denial of due process

and of the equal protection of the laws under the Fourteenth Amendment to the Constitution of

the United States of America (“U.S. Constitution”).

                                  JURISDICTION AND VENUE

       7.        This action seeks to vindicate Plaintiff’s rights under the Constitution and laws of

the United States to due process, to equal protection of the laws, and to be free from gender

discrimination in a federally funded educational program or activity, pursuant to both Title IX

and the Fourteenth Amendment to the U.S. Constitution.

       8.        Jurisdiction is conferred upon this court by 28 U.S.C. §§1331 and 1343, as this

action seeks redress for violations of Plaintiff’s rights under the Constitution and laws of the

United States.

       9.        Venue is proper to the United States District Court for the Northern District of

Indiana pursuant to 28 U.S.C. §1391(b) and (c), as the judicial district in which all relevant

events and omissions occurred, and in which at least one of the Defendants’ maintains an office

and resides.

                                              PARTIES

       10.       At all times relevant hereto, Plaintiff Jane Doe was a student enrolled at Purdue

University, a resident of the State of Indiana, and a citizen of the United States of America.




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       11.     At all times relevant hereto, Defendant Mitchell Elias Daniels was a resident of

the State of Indiana, was a citizen of the United States of America, and was acting under the

color of state law in his capacity as President of Purdue University, employed by Purdue

University. On information and belief, Defendant Daniels exercised and/or delegated his final

supervisory and/or decision-making power to Defendants Rollock, Sermersheim, Bloom, and

others. Defendant Daniels also supervised and/or trained Defendants Rollock, Sermersheim,

Bloom, Oliver, and Amberger. Defendant Daniels is sued in his individual and official

capacities.

       12.     At all times relevant hereto, Defendant Alyssa Christmas Rollock was a resident

of the State of Indiana, was a citizen of the United States of America, and was acting under the

color of state law in her capacity as Vice President of Ethics and Compliance at Purdue

University, employed by Purdue University. On information and belief, Defendant Rollock

exercised and/or delegated supervisory and/or final decision-making power delegated by

Defendants Purdue University and Daniels. Defendant Rollock also supervised and/or trained

Defendants Sermersheim, Bloom, Oliver, and Amberger. Defendant Rollock is sued in her

individual and official capacities.

       13.     At all times relevant hereto, Defendant Katherine L. Sermersheim was a resident

of the State of Indiana, was a citizen of the United States of America, and was acting under the

color of state law in her capacity as Dean of Students and Title IX Coordinator at Purdue

University, employed by Purdue University. On information and belief, Defendant Sermersheim

exercised and/or delegated supervisory and/or final decision-making power delegated by

Defendants Purdue University, Daniels, and Rollock. Defendant Sermersheim also supervised




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and/or trained Defendants Bloom, Oliver, and Amberger. Defendant Sermersheim is sued in her

individual and official capacities.

        14.     At all times relevant hereto, Defendant Monica Bloom was a resident of the State

of Indiana, was a citizen of the United States of America, and was acting under the color of state

law in her capacity as Title IX Coordinator, Director of the Center for Advocacy, Response, and

Education, and Director of the Office of Institutional Equity at Purdue University, employed by

Purdue University. On information and belief, Defendant Bloom exercised and/or delegated

supervisory and/or final decision-making power delegated by Defendants Purdue University,

Daniels, Rollock, and Sermersheim. Defendant Bloom also supervised and/or trained Defendants

Oliver and Amberger. Defendant Bloom is sued in her individual and official capacities.

        15.     At all times relevant hereto, Defendant Erin Oliver was a resident of the State of

Indiana, was a citizen of the United States of America, and was acting under the color of state

law in her capacity as Associate Director of the Office of Institutional Equity at Purdue

University, employed by Purdue University. Defendant Oliver is sued in her individual and

official capacities.

        16.     At all times relevant hereto, Defendant Jacob Amberger was a resident of the

State of Indiana, was a citizen of the United States of America, and was acting under the color of

state law in his capacity as Investigator for the Office of Institutional Equity at Purdue

University, employed by Purdue University. Defendant Amberger is sued in his individual and

official capacities.

        17.     At all times relevant hereto, Defendant Purdue University (“Defendant Purdue”)

was a state university authorized under the laws of the State of Indiana to maintain a public

university, for which it bears ultimate responsibility. Defendant Purdue assumes risks incidental



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to the maintenance and operation of a public university and the employment of agents within the

university. Defendant Purdue is a recipient of federal funding and is subject to federal and

constitutional law.

       18.     At all times relevant hereto, Defendant Purdue, either directly or through powers

delegated to its agents, hired, employed, trained, supervised, and controlled Defendants

individually named herein.

       19.     Defendants Daniels, Rollock, Sermersheim, Bloom, and Amberger are properly

sued directly under 42 U.S.C. §1983 for their own deliberately indifferent, unconstitutional

decisions, policies, practices, habits, customs, usages, training, supervision, ratification, actions,

omissions, and intentional failures which resulted in the constitutional rights violations

complained of herein.

                                    STATEMENT OF FACTS

       20.     Plaintiff incorporates and realleges by reference paragraphs 1 through 19 as if

they were fully set forth herein.

       21.     On December 5, 2015, Plaintiff Jane Doe (“Plaintiff”) was the victim of a sexual

assault, perpetrated against her in her dormitory by another undergraduate student, Jack Roe.

       22.     At all times relevant hereto, both Plaintiff and Jack Roe were enrolled as students

at Purdue University (“Purdue”).

       23.     On December 5, 2015, Plaintiff attended an off-campus party located at Jack

Roe’s residence.

       24.     The aforementioned party was sponsored, whether formally or informally, by

members of Purdue University’s Marching Band.




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        25.     At all times relevant hereto, Jack Roe was a prominent member of Purdue

University’s marching Band and a resident of the home that hosted the party on December 5,

2015.

        26.     Following the Purdue University Marching Band Party on December 5, 2015,

Jack Roe sexually assaulted Plaintiff.

        27.     The following day, December 6, 2015, Plaintiff reported the sexual assault to her

teammates on the Purdue University Crew Team.

        28.     On December 7, 2015, Plaintiff visited the Purdue University Student Health

Center (“PUSH”).

        29.     During her visit to PUSH on December 7, 2015, Plaintiff reported the sexual

assault to an assistant nurse practitioner.

        30.     On information and belief, the assistant nurse practitioner to whom Plaintiff

reported her sexual assault was Cynthia Modlin Adams, A.N.P. (“Ms. Adams”).

        31.     At all times relevant hereto, Ms. Adams was employed by Purdue University and

was acting within the scope of her employment.

        32.     On information and belief, the report of sexual assault was also reviewed by nurse

Karla Sigo, R.N. (“Ms. Sigo”).

        33.     At all times relevant hereto, Ms. Sigo was employed by Purdue University and

was acted within the scope of her employment.

        34.     In response to Plaintiff’s report of being sexually assaulted, Ms. Adams told

Plaintiff she needed to “make better decisions when she is drinking.”

        35.     Plaintiff was not intoxicated at the time of the assault.




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        36.     Ms. Adams’s response to Plaintiff’s report demonstrates a discriminatory attitude

toward Plaintiff based on her gender and widespread gender stereotypes.

        37.     Ms. Adams, Ms. Sigo, and Purdue University failed to provide Plaintiff with

adequate health care following the reported sexual assault.

        38.     Ms. Adams, Ms. Sigo, and Purdue University failed to properly advise the

Plaintiff as to the location of the nearest hospital with a Sexual Assault Nurse Examiner (“SANE

Nurse”).

        39.     At all times relevant hereto, Purdue University did not have, maintain, or refer

Plaintiff to a rape crisis counseling center.

        40.     At all times relevant hereto, each of Defendant Purdue’s employees failed to

provide, or assist Plaintiff in obtaining, the medical or psychological services she required

following the sexual assault.

        41.     On or about December 8, 2015, Plaintiff reported the sexual assault to at least one

(1) employee of McCutcheon Hall, whose identity not known at this time.

        42.     McCutcheon Hall is a residence hall located on Purdue University’s campus.

McCutcheon Hall is staffed, operated, and maintained by Purdue University.

        43.     On information and belief, the residence hall employee to whom Plaintiff reported

her sexual assault on or about December 8, 2015, created an incident report documenting the

reported sexual assault.

        44.     On information and belief, at least one (1) of the residence hall employees to

whom Plaintiff reported her sexual assault on or about December 8, 2015, failed to immediately

report the sexual assault to Purdue University’s Office of Institutional Equity.




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       45.        On information and belief, Plaintiff’s report of sexual assault was reported to the

Purdue University Police Department.

       46.        Despite being notified of the sexual assault, the Purdue University Police

Department never contacted the Plaintiff or attempted to speak with her in relation to her

reported sexual assault.

       47.        On December 9, 2015, Plaintiff was contacted by Kasey Richardson (“Ms.

Richardson”), Assistant Director of Purdue University’s Center for Advocacy, Response, and

Education (“CARE”).

       48.        On information and belief, Ms. Richardson verbally advised Plaintiff and/or

Plaintiff’s Mother it would be best to resolve her complaint through the Office of Institutional

Equity, rather than through the Purdue University Police Department.

       49.        On December 9, 2015, Plaintiff advised Ms. Richardson that she was having

difficulty focusing in her classes due to the emotional trauma she was suffering.

       50.        Ms. Richardson advised Plaintiff to leave campus as quickly as possible.

       51.        When Plaintiff attempted to leave campus prior to the conclusion of the Fall

Semester 2015, she was not given academic accommodations with respect to at least one (1) of

her classes.

        52.       Plaintiff’s grades during the Fall Semester 2015 suffered, as a result of Purdue

University’s failure to provide reasonable academic accommodations following the reported

sexual assault.

       53.        On February 1, 2016, Plaintiff contacted Ms. Richardson and requested assistance

in filing a formal complaint with Purdue’s Office of Institutional Equity (“OIE”).




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        54.     For reasons unknown at this time, an investigation was not initiated by Purdue’s

Office of Institutional Equity until February 16, 2016, over two (2) weeks after Plaintiff’s request

to initiate a formal investigation.

        55.     On or about February 16, 2016, Purdue’s Dean of Students, Katherine

Sermersheim (“Defendant Sermersheim”), assigned Jacob Amberger (“Defendant Amberger”)

and Erin Oliver (“Defendant Oliver”) to investigate Plaintiff’s formal complaint.

        56.     In response to Plaintiff’s complaint, Jack Roe submitted a written response to

Defendant Amberger and Defendant Oliver.

        57.     Jack Roe’s first response to Defendant Amberger and Defendant Oliver denied

material allegations included in Plaintiff’s complaint to OIE.

        58.     Plaintiff was subsequently permitted to review Jack Roe’s first response.

        59.     Plaintiff was also interviewed by Defendant Amberger and Defendant Oliver, and

reaffirmed material allegations Jack Roe denied in his first response.

        60.     Subsequently, Defendants Amberger and Oliver gathered additional evidence that

corroborated material allegations Jack Roe had denied in his first response to Plaintiff’s

complaint with OIE.

        61.     Subsequently, Jack Roe was asked to meet with Defendant Amberger and

Defendant Oliver a second time.

        62.     During his second meeting with Defendants Amberger and Oliver, Jack Roe was

permitted to give a second response to Plaintiff’s complaint with OIE before Defendants

Amberger and Oliver prepared their investigators’ report.




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       63.     Jack Roe’s second statement consisted of a materially different version of events,

and it retracted the previous denials of Plaintiff’s material allegations that had subsequently been

corroborated by independent evidence.

       64.     Plaintiff was never informed during the investigation that Jack Roe had been

interviewed for a second time.

       65.     Plaintiff was never informed during the investigation that Jack Roe had given a

second response to her complaint with OIE.

       66.     Plaintiff was never given an opportunity during the investigation to respond to

Jack Roe’s second response to her complaint with OIE.

       67.     On or about April 22, 2016, Plaintiff attended a final panel meeting to review her

complaint.

       68.     During the final panel meeting, Plaintiff was questioned by Defendant

Sermersheim and three other faculty members, whose identities are not known at this time.

       69.     During the final panel meeting, Plaintiff was treated as though she was to blame

for the assault, and she was asked a series of questions demonstrating gender-based

discrimination. The discriminatory questioning relied heavily on widespread gender-based

stereotypes including, without limitation, questions as to what she was wearing the night of the

assault, how much she had been drinking, whether she had a previous flirtatious relationship with

Jack Roe, and other questions that sought to place blame on Plaintiff without any bearing on the

issue of consent.

       70.     At all stages of Purdue University’s investigation, final panel hearing, and appeal,

Plaintiff was discriminated against due to her gender.




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        71.     The gender discrimination against Plaintiff is clearly demonstrated by the

comments, questioning, attitudes, and conclusions of Defendants Amberger, Oliver,

Sermersheim, Rollock, and Daniels stated herein, and those discovered in the prosecution of

Plaintiff’s claims, that rely on widespread gender-based stereotypes without having any bearing

on, or relevance to, the issue of consent.

        72.     The report submitted by Defendant Amberger and Defendant Oliver erroneously

concludes that Jack Roe did not violate Purdue University’s anti-harassment Policy.

        73.     Purdue University’s response, and lack thereof, to Plaintiff’s report of sexual

assault was deliberately indifferent to sexual assault committed against Plaintiff.

        74.     Purdue’s investigation discriminated against Plaintiff based her gender, by

presuming that Plaintiff somehow invited Jack Roe’s assault through prior, irrelevant acts and/or

omissions based on gender stereotypes.

        75.     Ultimately, from the moment Plaintiff report to PUSH, to the moment Defendants

Amberger, Oliver, and Sermersheim made their findings, Plaintiff was blamed for the sexual

assault she suffered on December 5, 2015 because of her gender.

        76.     On May 2, 2016, Defendant Sermersheim found that Jack Roe had not violated

Purdue University’s anti-harassment policy.

        77.     On May 5, 2016, for the first time, Plaintiff was permitted to review the report

created by Defendant Amberger and Defendant Oliver.

        78.     On May 5, 2016, for the first time, Plaintiff was made aware that Jack Roe had

given a second statement to Defendant Amberger and Defendant Oliver.

        79.     Plaintiff was never given notice that Jack Roe had submitted a revised statement

to the investigators.



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       80.     Plaintiff was never given an opportunity to review, address, challenge, or respond

to Jack Roe’s revised version of events.

       81.     Plaintiff was never given an opportunity to review the investigator’s report prior

the panel meeting, which was her final opportunity to be heard.

       82.     At all stages of the investigation, Plaintiff was denied equal access to the

information collected by Defendants Amberger and Oliver.

       83.     At all stages of the investigation, Plaintiff was denied due process, a meaningful

opportunity to view and respond to the evidence, and a meaningful opportunity to be heard.

       84.     On or about May 12, 2016, Plaintiff submitted an appeal to Purdue’s Vice

President of Ethics and Compliance, Alysa Christmas Rollock (“Defendant Rollock”).

       85.     Plaintiff’s appeal included a detailed response to Jack Roe’s newly discovered,

second story concerning what occurred on the night of the assault.

       86.     Plaintiff’s appeal detailed the problems in the underlying investigation, including

the clear gender bias demonstrated by Defendants Adams, Amberger, Oliver, and Sermersheim.

       87.     Plaintiff’s appeal addressed the bias she faced from the final panel in the form of

the accusatory questions she was asked.

       88.     Plaintiff’s appeal additionally outlined of a lack of communication from OIE

regarding the progress and timeline of the investigation.

       89.     Plaintiff was told to expect a determination on her appeal within ten (10) days

from the date her appeal was submitted.

       90.     On May 24, 2016, Plaintiff contacted Defendant Rollock by e-mail, inquiring as

to whether there was a determination regarding her appeal. Defendant Rollock did not respond.




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          91.    On May 25, 2016 Plaintiff again contacted Defendant Rollock by e-mail,

inquiring as to whether there was a determination regarding her appeal. Defendant Rollock did

not respond.

          92.    On May 26, 2016, Plaintiff contacted Purdue University President, Mitchell Elias

Daniels (“Defendant Daniels”), outlined her complaints relating to the Office of Institutional

Equity, the bias she faced from Defendants Amberger, Oliver, and Sermersheim, and the lack of

response form Defendant Rollock.

          93.    Defendant Daniels never responded to Plaintiff’s complaint.

          94.    On May 27, 2016, Defendant Rollock issued a determination denying Plaintiff’s

appeal.

          95.    Defendant Rollock failed to address any of Plaintiff’s substantive concerns in her

determination.

          96.    Defendant Rollock summarily denied Plaintiff’s appeal, and failed to address,

correct, or explain the numerous issues raised therein.

          97.    During the investigation, Plaintiff advised Defendant Richardson that she was

having difficulty with her academics due to the emotional trauma of the assault and the

investigation.

          98.    During the investigation, Plaintiff requested academic accommodations to assist

with the difficulty she was having,

          99.    Plaintiff was denied the academic accommodations she requested.

          100.   During the investigation, Plaintiff reported to Defendant Richardson that she was

having financial difficulties due to a bill she was receiving from the hospital in connection with

the underlying assault.



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       101.    Defendant Richardson advised Plaintiff she would receive assistance from Purdue

University in paying for her hospital expenses.

       102.    Despite her request for accommodation, Plaintiff never received assistance from

Purdue in paying for her medical expenses incurred following this assault.

       103.    At all times relevant hereto, Defendant Richardson was assigned to Plaintiff as

her victim’s advocate. Accordingly, all accommodation requests made to Defendant Richardson

were simultaneously made to Purdue University.

       104.    During the Fall Semester 2016, after Jack Roe had graduated, Plaintiff attended a

job fair on campus through Purdue’s engineering program where she encountered Jack Roe, who

had graduated the previous semester.

       105.    Plaintiff’s emotional trauma was relived, and she had to leave the job fair and

forego the opportunities at said job fair.

       106.    Prior to the job fair, Plaintiff had repeatedly expressed her fear of Jack Roe’s

continued presence on campus to Defendants Richardson and Rollock.

       107.    As a proximate result of the Defendants’ deliberate indifference to Jack Roe’s

sexual assault of Plaintiff, Plaintiff has suffered, and continues to suffer, damages including,

without limitation, medical expenses, physical pain and suffering, emotional pain and suffering,

lost educational opportunities, diminished academic performance, lost scholarships, and a

diminished quality of life.

                                             COUNT I

   20 U.S.C. §1681, et seq. – Title IX violation as to Defendant Purdue University for the
                   school’s deliberate indifference to sexual harassment

       108.    Plaintiff incorporates and realleges by reference paragraphs 1 through 107 as if

they were fully set forth herein.

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       109.    The sexual harassment reported by Plaintiff and articulated herein was so severe,

pervasive, and objectively offensive that it deprived Plaintiff of equal access to educational

opportunities and programs and the benefits of such opportunities and programs.

       110.    Defendant Purdue University created and/or subjected Plaintiff to a hostile

educational environment in violation of Title IX because:

       a.      Plaintiff was a member of a protected class;

       b.      Defendant Purdue had substantial control over the harasser, who was a student

               enrolled at Purdue University;

       c.      Defendant Purdue had substantial control over the context in which the

               harassment occurred, as the harassment occurred on campus in McCutcheon Hall;

       d.      Plaintiff was subjected to sexual harassment that was so severe, pervasive, and

               objectively offensive that it deprived Plaintiff of equal access to educational

               opportunities and programs;

       e.      Plaintiff was subjected to harassment based on her sex; specifically, sexual

               harassment in the form of a sexual assault;

       f.      Defendant Purdue had actual knowledge of the harassment through Plaintiff’s

               report to three (3) of Defendant Purdue’s employees between December 7, 2015

               and December 9, 2015;

       g.      Defendant Purdue failed to initiate an investigation into the sexual assault until

               February 16, 2016;

       h.      Defendant Purdue failed to extend reasonable accommodations, including

               academic accommodations and medical care, to Plaintiff following her report of

               being sexually assaulted;



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       i.      Defendant Purdue’s investigation and resolution of Plaintiff’s complaint unfairly

               favored Plaintiff’s assailant;

       j.      Defendant Purdue’s unfair treatment of Plaintiff during the investigation and

               resolution of her complaint was based on Plaintiff’s gender, as demonstrated by

               the attitudes, statements, and actions of Purdue’s employees during the

               investigation and resolution of Plaintiff’s complaint; and

       k.      Defendant Purdue was deliberately indifferent to the known sexual harassment by

               its initial failure to respond and provide reasonable accommodations and medical

               care, and subsequently by its discriminatory investigation and continuing failure

               to provide reasonable accommodations.

       111.    By December 9, 2015, several school employees who had a duty to respond to the

sexual harassment and/or institute corrective measures had actual knowledge of the harassment

and failed to adequately respond.

       112.    Defendant Purdue was deliberately indifferent by failing to extend Plaintiff

reasonable accommodations including, without limitation, medical attention, counseling,

academic accommodations, and/or other reasonable accommodations requested by Plaintiff

before, during, and after the resolution of Plaintiff’s complaint to OIE.

       113.    Defendant Purdue was deliberately indifferent by its failure to investigate and

appropriately discipline Plaintiff’s attacker in a timely manner and consistent with its own

policies and procedures promulgated under federal law.

       114.    The sexual assault Plaintiff suffered, and Defendant Purdue’s deliberate

indifference to said assault, proximately caused her to be excluded from participation in, and to

be denied the benefits of, educational programs and activities in violation of Title IX.



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        115.    At all times relevant hereto, Defendant Purdue was a recipient of federal funding

and was obligated to comply with the requirements of Title IX.

        116.    Defendant Purdue persisted in its deliberately indifferent actions and inaction well

after it had actual Defendant Purdue did not have adequate personnel and/or facilities in place to

adequately respond to the sexual assault against Plaintiff in a timely manner. Plaintiff was forced

to seek medical attention and rape crisis counseling off campus, as Defendant Purdue did not

have appropriate services and/or personnel in place for victims of sexual assault.

        117.    Even after Defendant Purdue had actual knowledge of the sexual assault against

Plaintiff, it failed to reasonably assist Plaintiff in obtaining medical attention, rape crisis

counseling, and/or securing reasonable and necessary academic accommodations.

        118.    Defendant Purdue’s failure to adequately respond to the sexual assault against

Plaintiff and/or to provide reasonable accommodations resulted in harm to the Plaintiff as her

grades suffered, her medical and psychological care was unreasonably delayed, and the

investigation into her allegations was unreasonably delayed.

        119.    Defendant Purdue’s lack of appropriate facilities and/or personnel, and its failure

to adequately respond to Plaintiff’s complaint of sexual assault in a timely manner further

demonstrate its deliberate indifference to Plaintiff’s complaint of sexual assault.

        120.    Defendant Purdue persisted in its deliberately indifferent actions and inaction well

after it had actual knowledge of the sexual harassment and harm suffered by Plaintiff.

knowledge of the sexual harassment and harm suffered by Plaintiff.

        121.    As a direct and proximate result of Defendant Purdue’s deliberate indifference,

Plaintiff suffered emotional distress and psychological damages, incurred medical expenses,




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suffered a loss of opportunity and the benefits of educational programs and activities, incurred

other economic damages, and experienced ongoing pain and suffering.

           WHEREFORE, Plaintiff prays that this Court enter judgment for the Plaintiff against

each of the Defendants herein and grant relief as follows:

           A.     Award Plaintiff compensatory and consequential damages, including damages for

pain and suffering, emotional distress, humiliation, loss of enjoyment of life, medical expenses,

loss of educational opportunities, and all other economic losses and unreimbursed expenses on

all claims allowed by law in an amount to be determined at trial or otherwise;

           B.     Award Plaintiff economic losses on all claims permitted by law;

           C.     Award Plaintiff special damages in an amount to be determined at trial or

otherwise;

           D.     Award Plaintiff punitive damages on all claims as permitted by law against

individual Defendants and in an amount to be determined at trial or otherwise;

           E.     Award Plaintiff attorneys’ fees and the costs associated with this action, including

expert witness fees, as permitted by law;

           F.     Award Plaintiff pre- and post-judgment interest as permitted by law; and

           G.     Award any and all further relief as this Court deems appropriate and equitable,

including injunctive and injunctive and declaratory relief as may be required in the interests of

justice.

                                              COUNT II

    20 U.S.C. §1681, et seq. – Title IX violation as to Defendant Purdue University for an
      erroneous outcome arising from gender bias in Defendant Purdue’s investigation

           122.   Plaintiff incorporates and realleges by reference paragraphs 1 through 121 as if

they were fully set forth herein.

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       123.    The sexual harassment reported by Plaintiff and articulated herein was so severe,

pervasive, and objectively offensive that it deprived Plaintiff of equal access to educational

opportunities and programs and the benefits of such opportunities and programs.

       124.    The sexual harassment Plaintiff suffered was based on her gender.

       125.    The outcome of Defendant Purdue University’s investigation proceedings and

resolution of Plaintiff’s Complaint is erroneous, in violation of Title IX because:

       a.      Jack Roe’s first response to Plaintiff’s complaint contained denials of material

               allegations in Plaintiff’s complaint that were subsequently corroborated by

               independent evidence;

       b.      After receiving independent evidence that corroborated the material allegations of

               Plaintiff’s complaint that were initially denied by Jack Roe, Defendant Purdue

               permitted Jack Roe to materially revise his statement in response to Plaintiff’s

               allegations;

       c.      Plaintiff was never advised of Jack Roe’s second response prior to the final

               hearing on her complaint;

       d.      Plaintiff was never permitted to respond to Jack Roe’s second response prior to

               the final hearing on her complaint;

       e.      Plaintiff was never permitted to review the investigator’s report prior to the final

               hearing on her complaint;

       f.      Plaintiff was never given an opportunity to present additional evidence in

               response to Jack Roe’s second response to her complaint before or during the

               final hearing on her complaint; and




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       g.      Defendant Purdue failed to address the procedural deficiencies raised by Plaintiff

               in her appeal of the erroneous resolution of her complaint.

       126.    The erroneous outcome of Defendant Purdue University’s investigation and

resolution of Plaintiff’s complaint was motivated, at least in part, by gender bias against the

Plaintiff. The circumstances suggesting gender bias against Plaintiff during the investigation and

resolution of her complaint include, without limitation, the following:

       a.      Plaintiff and Jack Roe were similarly situated with respect to the investigation and

               resolution of Plaintiff’s complaint as opposing parties;

       b.      Jack Roe was given numerous opportunities to present additional evidence, alter

               his statements relating to the incident prior to the conclusion of the investigation

               and final hearing on Plaintiff’s complaint;

       c.      Plaintiff was denied an opportunity to review and respond to evidence and

               statements provided by Jack Roe prior to the conclusion of the investigation and

               final hearing on Plaintiff’s complaint;

       d.      Plaintiff was subjected to questioning, irrelevant to the ultimate issue of consent,

               during the course of the investigation and final hearing on her complaint that

               suggests the influence of gender bias amongst the investigators and final hearing

               panel members. The questioning included, without limitation, questions about the

               Plaintiff’s clothing, questions about the Plaintiff’s alleged intoxication, and

               questions about an alleged prior flirtatious relationship with Jack Roe;

       e.      Jack Roe was not similarly subjected to questioning irrelevant to the ultimate

               issue of consent; and




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       f.      Defendant Purdue University’s investigators and final hearing panel relied on

               Plaintiff’s responses to the foregoing gender biased questions in erroneously

               resolving Plaintiff’s sexual assault complaint.

       127.    At all times relevant hereto, Defendant Purdue was a recipient of federal funding

and was obligated to comply with the requirements of Title IX.

       128.    Defendant Purdue engaged in a pattern and practice of behavior designed to favor

Plaintiff’s attacker, thereby discouraging Plaintiff and other female students from seeking

prosecution and further investigation of sexual assaults.

       129.    Defendant Purdue’s policies, habits, customs, and/or practices constituted

disparate treatment of Plaintiff and other female students.

       130.    As a direct and proximate result of Defendant Purdue’s erroneous resolution of

her complaint, Plaintiff suffered emotional distress and psychological damages, incurred medical

expenses, suffered a loss of opportunity and the benefits of educational programs and activities,

incurred other economic damages, and experienced ongoing pain and suffering.

       WHEREFORE, Plaintiff prays that this Court enter judgment for the Plaintiff against

each of the Defendants herein and grant relief as follows:

       A.      Award Plaintiff compensatory and consequential damages, including damages for

pain and suffering, emotional distress, humiliation, loss of enjoyment of life, medical expenses,

loss of educational opportunities, and all other economic losses and unreimbursed expenses on

all claims allowed by law in an amount to be determined at trial or otherwise;

       B.      Award Plaintiff economic losses on all claims permitted by law;

       C.      Award Plaintiff special damages in an amount to be determined at trial or

otherwise;



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           D.     Award Plaintiff punitive damages on all claims as permitted by law against

individual Defendants and in an amount to be determined at trial or otherwise;

           E.     Award Plaintiff attorneys’ fees and the costs associated with this action, including

expert witness fees, as permitted by law;

           F.     Award Plaintiff pre- and post-judgment interest as permitted by law; and

           G.     Award any and all further relief as this Court deems appropriate and equitable,

including injunctive and injunctive and declaratory relief as may be required in the interests of

justice.

                                              COUNT III

 42 U.S.C. §1983 – Equal protection violation as to Defendants Mitchell Elias Daniels, Alysa
 Christmas Rollock, Katherine L. Sermersheim, Monica Bloom, Jacob Amberger, and Erin
                           Oliver in their individual capacities

           131.   Plaintiff incorporates and realleges by reference paragraphs 1 through 130 as if

they were fully set forth herein.

           132.   Under the Fourteenth Amendment, Plaintiff has the right to equal protection of

the laws.

           133.   Under the Fourteenth Amendment, Plaintiff has the right to be free from gender

discrimination and harassment.

           134.   At all times relevant hereto, Defendants Rollock, Sermersheim, Amberger, and

Oliver were state actors acting under the color of state law.

           135.   At all times relevant hereto, Plaintiff was similarly situated to Jack Roe with

respect to the investigation and resolution of Plaintiff’s sexual assault complaint.




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       136.    Despite being similarly situated to the Plaintiff, Jack Roe received preferential

treatment by Defendants Amberger, Oliver, and Sermersheim throughout the investigation and

resolution of Plaintiff’s sexual assault complaint.

       137.    There is no rational basis for the difference in treatment of Jack Roe and Plaintiff.

       138.    The difference in treatment of Jack Roe and Plaintiff was motivated by gender

bias against Plaintiff, as demonstrated without limitation by the following disparities in

treatment:

       a.      Jack Roe’s first response to Plaintiff’s complaint contained denials of material

               allegations in Plaintiff’s complaint that were subsequently corroborated by

               independent evidence;

       b.      After receiving independent evidence that corroborated the material allegations of

               Plaintiff’s complaint that were initially denied by Jack Roe, Defendant Purdue

               permitted Jack Roe to materially revise his statement in response to Plaintiff’s

               allegations;

       c.      Plaintiff was never advised of Jack Roe’s second response prior to the final

               hearing on her complaint;

       d.      Plaintiff was never permitted to respond to Jack Roe’s second response prior to

               the final hearing on her complaint;

       e.      Plaintiff was never permitted to review the investigator’s report prior to the final

               hearing on her complaint;

       f.      Plaintiff was never given an opportunity to present additional evidence in

               response to Jack Roe’s second response to her complaint before or during the

               final hearing on her complaint; and



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       g.      Defendant Purdue failed to address the procedural deficiencies raised by Plaintiff

               in her appeal of the erroneous resolution of her complaint.

       h.      Jack Roe was given numerous opportunities to present additional evidence, alter

               his statements relating to the incident prior to the conclusion of the investigation

               and final hearing on Plaintiff’s complaint;

       i.      Plaintiff was denied an opportunity to review and respond to evidence and

               statements provided by Jack Roe prior to the conclusion of the investigation and

               final hearing on Plaintiff’s complaint;

       j.      Plaintiff was subjected to questioning, irrelevant to the ultimate issue of consent,

               during the course of the investigation and final hearing on her complaint that

               suggests the influence of gender bias amongst the investigators and final hearing

               panel members. The questioning included, without limitation, questions about the

               Plaintiff’s clothing, questions about the Plaintiff’s alleged intoxication, and

               questions about an alleged prior flirtatious relationship with Jack Roe;

       k.      Jack Roe was not similarly subjected to questioning irrelevant to the ultimate

               issue of consent; and

       l.      Defendant Purdue University’s investigators and final hearing panel relied on

               Plaintiff’s responses to the foregoing gender biased questions in erroneously

               resolving Plaintiff’s sexual assault complaint.

       139.    Defendants Rollock, Sermersheim, Amberger, and Oliver each subjected Plaintiff

to violations of her right to equal protection of the laws and her right to be free from gender

discrimination and harassment giving Jack Roe preferential treatment and discriminating against

the Plaintiff due to her gender as set forth above.



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       140.    Defendants Amberger, Oliver, and Sermersheim directly engaged in

discriminatory conduct against Plaintiff during the course of the investigation and resolution of

her sexual assault complaint, as set forth herein,

       141.    Defendants Daniels, Rollock, and Bloom each had direct and actual knowledge of

Plaintiff’s sexual assault complaint.

       142.    Defendants Daniels, Rollock, and Bloom each had direct and actual knowledge of

Plaintiff’s appeal of Purdue University’s erroneous determination, including Plaintiff’s complaint

of bias, disparate treatment, procedural deficiencies, and gender discrimination.

       143.    Defendants Daniels, Rollock, and Bloom each acquiesced in the disparate

treatment of Plaintiff based on her gender by failing to respond and correct the disparate

treatment of Plaintiff.

       144.    At all times relevant hereto, Defendants Daniels, Rollock, Bloom, and

Sermersheim were policymakers with actual or delegated authority for the purpose of

developing, implementing, and/or supervising Defendant Purdue’s investigation of student

complaints of sexual assault.

       145.    Each of the Defendants knew, or reasonably should have known, that their

response to sexual assault allegations must comply with federal law, particularly Title IX, and

the Fourteenth Amendment.

       146.    None of the parties individually named herein have immunity from suit in their

individual capacities.

       147.    As a direct and proximate result of Defendants’ constitutional violations, Plaintiff

suffered emotional distress and psychological damages, incurred medical expenses, suffered a




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loss of opportunity and the benefits of educational programs and activities, incurred other

economic damages, and experienced ongoing pain and suffering.

           WHEREFORE, Plaintiff prays that this Court enter judgment for the Plaintiff against

each of the Defendants herein and grant relief as follows:

           A.     Award Plaintiff compensatory and consequential damages, including damages for

pain and suffering, emotional distress, humiliation, loss of enjoyment of life, medical expenses,

loss of educational opportunities, and all other economic losses and unreimbursed expenses on

all claims allowed by law in an amount to be determined at trial or otherwise;

           B.     Award Plaintiff economic losses on all claims permitted by law;

           C.     Award Plaintiff special damages in an amount to be determined at trial or

otherwise;

           D.     Award Plaintiff punitive damages on all claims as permitted by law against

individual Defendants and in an amount to be determined at trial or otherwise;

           E.     Award Plaintiff attorneys’ fees and the costs associated with this action, including

expert witness fees, as permitted by law;

           F.     Award Plaintiff pre- and post-judgment interest as permitted by law pursuant to

42 U.S.C. §§1920 and 1988; and

           G.     Award any and all further relief as this Court deems appropriate and equitable,

including injunctive and injunctive and declaratory relief as may be required in the interests of

justice.

                                           JURY DEMAND

           148.   Plaintiff demands a trial by jury in this action on each and every one of her

claims.



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      Respectfully submitted this 28th day of August, 2018.




s/ John Mark Vouga______________                          s/ Andrew J. Spica______________
John Mark Vouga (#11754-64)                               Andrew J. Spica (#32157-64)
Attorney for Plaintiff                                    Attorney for Plaintiff

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